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                                     UNITED STATES DISTRICT COURT
                                                   for the
                                         Southern District of Indiana


  UNITED STATES SECURITIES AND EXCHANGE                               )
  COMMISSION
                    Plaintiff(s),                                     )
  vs.                                                                 ) 1:19−cv−04804−TWP−TAB
                                                                      )
  BOBBY PEAVLER, et al.                                               )
                      Defendant(s).                                   )


     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO MAGISTRATE JUDGE


           Notice of magistrate judge's availability. A United States magistrate judge of this court is available
  to conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a
  final judgment. The judgment may then be appealed directly to the United States court of appeals like any
  other judgment of this court. A magistrate judge may exercise this authority only if all parties voluntarily
  consent.

          You may consent to have your case referred to the currently assigned magistrate judge, or you may
  withhold your consent without adverse substantive consequences. The name of any party withholding
  consent will not be revealed to any judge who may otherwise be involved with your case.

           Consent to magistrate judge's authority. If all parties consent to have the currently assigned United
  States magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and
  all post−trial proceedings, they should sign their names below (electronically or otherwise). Should this case
  be reassigned to another magistrate judge, any attorney or party of record may object within 30 days of such
  reassignment. If no objection is filed, the consent will remain in effect. NOTICE: This document is eligible
  for filing only if executed by all parties. The parties can also express their consent to jurisdiction by a
  magistrate judge in the Case Management Plan.


          Parties' printed names            Signatures of parties or attorneys                 Dates




                                                 Reference Order


          IT IS ORDERED: This case is referred to the currently assigned United States magistrate judge to
  conduct all proceedings and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and
  Fed. R. Civ. P. 73. Should this case be reassigned to a magistrate judge other than the magistrate judge
  assigned the date of this order, any attorney or party of record may object within 30 days of such
  reassignment. If no objection is filed, the consent will remain in effect.


  Date:
                                                          District Judge's signature
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                                         Printed name and title
